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13                              UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                   SAN FRANCISCO DIVISION

16

17   ANIBAL RODRIGUEZ, et al. individually and on     Case No. 3:20-CV-04688-RS
     behalf of all others similarly situated,
18                                                   GOOGLE LLC’S NOTICE OF
                                 Plaintiff,          SUPPLEMENTAL AUTHORITY
19
            vs.
20                                                    Judge:        Hon. Richard Seeborg
     GOOGLE LLC,                                      Courtroom: 3, 17th Floor
21                                                    Action Filed: July 14, 2020
                                 Defendant.           Trial Date: Not Set
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                          GOOGLE LLC’S NOTICE OF SUPPLEMENTAL AUTHORITY
                                       Case No. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS           Document 351          Filed 10/30/23    Page 2 of 2




 1         Defendant Google LLC (“Google”) submits this Notice of Supplemental Authority to

 2   inform the Court of the recent Ninth Circuit per curiam opinion in Jones v. Ford Motor Company,

 3   Case No. 22-35447 (9th Cir., 2023) (“Opinion”), which was issued after Google filed its

 4   Opposition to Plaintiffs’ Motion for Class Certification and Appointment of Class Representatives

 5   and Class Counsel (ECF No. 323).

 6         In their opinion declining to revive class claims, the Ninth Circuit panel addressed issues

 7   relevant to this Court’s consideration of Plaintiffs’ Motion for Class Certification and

 8   Appointment of Class Representatives and Class Counsel (ECF No. 315), particularly by

 9   distinguishing the lower bar for constitutional standing with the more stringent statutory injury

10   requirements to state a claim under Washington’s Privacy Act, § 9.73.060 (Opinion at 8). A copy

11   of the Opinion is attached as Exhibit A.

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13   Dated: October 30, 2023                               WILLKIE FARR & GALLAGHER LLP
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                                                           By: /s/ Eduardo E. Santacana
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                           GOOGLE LLC’S NOTICE OF SUPPLEMENTAL AUTHORITY
                                        Case No. 3:20-CV-04688-RS
